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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                                      CASE NO. 16-61760-CIV-DIMITROULEAS
  CRAIG JASON HEWELL,

         Plaintiff,
  v.

  NOR-SEG SECURITY SERVICES INC.,

        Defendant.
  _____________________________________/

                      ORDER APPROVING SETTLEMENT AGREEMENT;
                          DISMISSING CASE WITH PREJUDICE

         THIS CAUSE is before the Court upon the Renewed Joint Motion for Court Approval of

  Confidential Settlement and Dismissal of Case with Prejudice [DE 24], filed herein on March 13,

  2017. The Court has carefully considered the Motion and the attached Settlement Agreement [DE

  24-1] and is otherwise fully advised in the premises.

         Accordingly, it is ORDERED AND ADJUDGED that:

         1.      The Motion to Approve Settlement [DE 24] is GRANTED;

         2.      The parties’ Settlement Agreement is hereby APPROVED;

         3.      This case is DISMISSED with prejudice;

         4.      The Clerk is directed to CLOSE this case and DENY AS MOOT all pending

                 motions.

         DONE AND ORDERED, in Chambers, at Fort Lauderdale, Broward County, Florida,

  this 15th day of March, 2017.




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  Copies furnished to:

  Counsel of Record




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